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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA




 DR. DOROTHY NAIRNE, JARRETT LOFTON,
 REV. CLEE EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, ALEXIS
 CALHOUN, BLACK VOTERS MATTER
 CAPACITY BUILDING INSTITUTE, AND THE
 LOUISIANA STATE CONFERENCE OF THE                       Civil Action No. 3:22-cv-00178
 NAACP,

                        Plaintiffs

        v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana

                       Defendants



                                     ORDER - PROPOSED

       Considering the foregoing Motion for Leave to Substitute Pleading,

       IT IS ORDERED, that the Motion for Leave to Substitute Pleading filed by Defendant,

State of Louisiana, Through Attorney General Liz Murrill, is GRANTED, thereby substituting the

Transcript Order Form attached to the motion for the Transcript Order Form previously filed herein

on March 1, 2024 as R. Doc 252.



Baton Rouge, Louisiana, on this ____ day of ____________, 2024.




                       ________________________________________
                              JUDGE SCOTT D. JOHNSON
                           MIDDLE DISTRICT OF LOUISIANA




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